














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-70,510-01






EX PARTE JUAN EDWARD CASTILLO








ON APPLICATION FOR WRIT OF HABEAS CORPUS


CAUSE NO. 2004-CR-1461-A IN THE 186TH JUDICIAL DISTRICT COURT


BEXAR COUNTY





	Per curiam.


O R D E R



	This is a post conviction application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure article 11.071.

	Applicant was convicted in 2005 of capital murder committed in December 2003. 
Tex. Penal Code Ann. § 19.03(a)(2).  Based on the jury's answers to the special issues set
forth in the Texas Code of Criminal Procedure, Article 37.071, sections 2(b) and 2(e), the
trial court sentenced him to death.  Art. 37.071, § 2(g). (1)  This Court affirmed applicant's
conviction and sentence on direct appeal.  Castillo v. State, 221 S.W.3d 689 (Tex. Crim. App.
2007).

	Applicant presented four allegations in his application in which he challenges the
validity of his conviction and sentence.  The trial judge entered findings of fact and
conclusions of law and recommended that relief be denied.

	This Court has reviewed the record with respect to the allegations made by applicant. 
We agree with the trial judge's recommendation and adopt the trial judge's findings and
conclusions.  Further, we hold that applicant's second allegation is procedurally barred. 
Based upon the trial court's findings and conclusions and our own review of the record, relief
is denied.

	IT IS SO ORDERED THIS THE 12TH DAY OF SEPTEMBER, 2012.


Do Not Publish
1.   Unless otherwise indicated all references to Articles refer to the Code of Criminal
Procedure.


